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                     IN THE UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA

                                     BECKLEY DIVISION


CRUSO R. WALLACE,

                               Petitioner,

v.                                                    CIVIL ACTION NO. 5:04-cv-00732
                                                      (CRIMINAL ACTION NO. 5:02-cr-00101-3)

UNITED STATES OF AMERICA,

                               Respondent.


                                  MEMORANDUM OPINION

       In accord with this Court’s Standing Order entered on May 20, 2002, this action was referred

to United States Magistrate Judge Mary E. Stanley for submission of proposed findings and a

recommendation [“PF&R”]. Magistrate Judge Stanley filed her PF&R on July 11, 2006 [Docket

237]. In that filing, the magistrate judge recommended that this Court deny Petitioner’s motion filed

pursuant to 28 U.S.C. § 2255 and remove this case from the Court’s docket.

       The Court is not required to review, under a de novo or any other standard, the factual or

legal conclusions of the magistrate judge as to those portions of the findings or recommendation to

which no objections are addressed. Thomas v. Arn, 474 U.S. 140, 150 (1985). In addition, this

Court need not conduct a de novo review when a party “makes general and conclusory objections

that do not direct the Court to a specific error in the magistrate’s proposed findings and

recommendations.” Orpiano v. Johnson, 687 F.2d 44, 47 (4th Cir. 1982). See also Page v. Lee, 337

F.3d 411 (4th Cir. 2003); Johnson v Zema Sys. Corp., 170 F.3d 734 (7th Cir. 1999) (if party fails to

object to magistrate judge’s report and recommendation in district court, she waives appellate review
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of both factual and legal questions; if party objects in district court on some issues and not others,

she waives appellate review of issues to which she has not objected). Here, Petitioner filed timely

objections to Magistrate Judge Stanley’s PF&R.

                                         I. BACKGROUND

        The full factual and procedural history of this action and Petitioner’s related criminal case

(Criminal Action No. 5:02-101-3) is set forth in the PF&R. On July 19, 2004, Petitioner filed the

instant action pursuant to 28 U.S.C. § 2255. Petitioner thereafter moved to amend his § 2255

motion, which Magistrate Judge Stanley granted on July 10, 2006. Petitioner’s § 2255 motion states

four bases for relief: (1) his attorney, J. Steven Hunter, Esq., provided ineffective assistance during

his plea negotiations, at sentencing, and on appeal; (2) his plea agreement was only beneficial to the

Government; (3) there was no jury finding regarding the quantity of drugs attributed to him in his

Presentence Report; and (4) certain enhancements which increased his sentence were not presented

to a jury.

        In her PF&R, Magistrate Judge Stanley recommends denying Petitioner’s § 2255 motion

because each of his four bases for relief lack merit.

                                    II. OBJECTIONS TO PF&R

        Petitioner objects to the magistrate judge’s recommendation with regard to the Claim 1 of

his § 2255 motion, but fails to object to Claims 2, 3, and 4. Accordingly, Petitioner has waived his

right of review with regard to Claims 2, 3, and 4 of his § 2255 motion, and the Court ADOPTS the

magistrate judge’s recommendations with regard to those claims.

        In addressing Petitioner’s ineffective assistance of counsel arguments contained in Claim 1,

the magistrate judge first reviewed Petitioner’s plea agreement in his criminal case and determined


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that Mr. Hunter’s representation was not ineffective during plea negotiations. The magistrate judge

next noted that “Defendant has not provided sufficient information or argument for the court to

understand his contention that his attorney [was ineffective at sentencing and appeal.]” After

reviewing Petitioner’s criminal file, the magistrate judge concluded that Mr. Hunter was not

ineffective at sentencing or on appeal.

       Petitioner objects to the magistrate judge’s recommended finding that Mr. Hunter was not

ineffective in his criminal case. In support of his objections, Petitioner argues that Mr. Hunter was

ineffective in four ways. First, Mr. Hunter should have advised him to plead to a count of the

indictment other than the conspiracy count because he was ultimately exposed to additional relevant

conduct through the conspiracy. Second, Mr. Hunter should have challenged the Presentence

Report’s finding regarding the quantity of drugs attributed to him through the conspiracy. Third, Mr.

Hunter should have challenged the Presentence Report’s application of a gun enhancement. Finally,

Mr. Hunter should have raised the drug quantity and gun enhancement issues on appeal. The Court

notes that none of these four issues were presented to the magistrate judge.

       Under the Federal Magistrates Act, magistrate judges may “conduct hearings, including

evidentiary hearings, and to submit to a [district judge] proposed findings of fact and

recommendations for the disposition [of the matter.]” 28 U.S.C. § 636(b)(1)(B). The parties have

10 days to file objections to proposed findings and recommendations. 28 U.S.C. § 636(b)(1)(C).

However, “[r]eview of a Magistrate’s ruling . . . does not permit consideration of issues not raised

before the Magistrate. . . . A magistrate’s decision should not be disturbed on the basis of arguments

not presented to him.” Jesselson v. Outlet Assocs. of Williamsburg, Ltd. P’ship, 784 F. Supp. 1223,

1228 (E.D. Va. 1991). See also Maurice v. State Farm Mut. Auto. Ins. Co., 235 F.3d 7, 10 (1st Cir.


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2000) (“The law is clear that when a dispositive motion is heard before a magistrate judge, the

movant must make all her arguments then and there, and cannot later add new arguments at

subsequent stages of the proceeding.”). In Jesselson, the Court concisely states the reasoning

underlying this rule:

       This rule is based upon the same concept which prevents parties from arguing in the
       appellate courts issues and arguments not raised below. Moreover, the purpose of
       the Magistrates Act is to allow magistrates to assume some of the burden imposed
       on the district courts and to relieve courts of unnecessary work. Allowing Plaintiffs
       to present their case to the Magistrate, and then, because they were unsuccessful,
       present new issues and arguments to this Court frustrates this purpose. The
       Magistrates Act was not intended to ‘give litigants an opportunity to run one version
       of their case past the magistrate, then another past the district court.’ Plaintiffs have
       not raised any claim of exceptional circumstances to justify or excuse their failure to
       make these new arguments before the magistrate.

Jesselson, 784 F. Supp. at 1228-29 (internal citations omitted).

       Allowing parties, including pro se litigants, to raise new issues or arguments at any point in

the life of a case will simply result in a needless multiplication of litigation. Parties should fully

plead their claims, and fully advance their arguments, at all stages of litigation, unless they are

prepared to waive them. This is especially true for a § 2255 petitioner, who may well be foreclosed

from seeking future relief. See 28 U.S.C. § 2255 (second or successive § 2255 motion may only be

filed under limited conditions by order of Court of Appeals).

       Here, Petitioner makes four arguments in support of his objections to the PF&R, none of

which were made to the magistrate judge. Petitioner asserts no exceptional circumstances for his

failure to have presented these issues to the magistrate judge. Therefore, the Court FINDS that

Petitioner waived the arguments set forth in his objections, and, accordingly, ADOPTS the

recommendations in the PF&R.



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                                     III. CONCLUSION

       Based on the above, the Court DENIES Petitioner’s motion filed pursuant to 28 U.S.C. §

2255 and DISMISSES this case from the Court’s docket. A Judgment Order will be entered this

day implementing the rulings contained herein.

                                           ENTER:        June 18, 2007




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